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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                              )
NATIONAL AIR TRAFFIC          )
CONTROLLERS ASSOCIATION, AFL- )
CIO and PROFESSIONAL AIRWAYS )
SYSTEMS SPECIALISTS, AFL-CIO, )
                              )
           Plaintiffs,        )
                              )
      v.                      )                      Civil Action No. 04-0138 (RMC)
                              )
FEDERAL SERVICE IMPASSES      )
PANEL and FEDERAL LABOR       )
RELATIONS AUTHORITY           )
                              )
           Defendants.        )
                              )

                                 MEMORANDUM OPINION

               Two federal unions, the National Air Traffic Controllers Association (“NATCA”) and

the Professional Airways Systems Specialists (“PASS”), sue to force the Federal Service Impasses

Panel (“Panel”) to assist them in resolving bargaining impasses with the Federal Aviation

Administration (“FAA”). There is no doubt that the FAA and NATCA and the FAA and the PASS

reached impasses in bargaining after lengthy good-faith efforts. The current dispute centers around

whether the Panel properly declined to exercise its authority to resolve these impasses. Because the

Court cannot conclude that the Panel violated a mandatory statutory duty in refusing to invoke its

jurisdiction, the Court will grant summary judgment to the Federal Defendants and dismiss

Plaintiffs’ complaint.
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                                  I. BACKGROUND FACTS

       NATCA represents 16,000 employees of the FAA, approximately 1,800 of whom are affected

by the current dispute. PASS represents approximately 11,000 FAA employees, approximately 4,000

of whom are affected.1 The two unions are labor organizations within the meaning of the Civil

Service Reform Act of 1978 (“CSRA”), 5 U.S.C. §§ 7101 et seq. (also referred to as “Chapter 71”).

The Federal Labor Relations Authority (“FLRA” or “Authority”), a defendant here, was established

by Congress under the CSRA to protect the rights of federal employees to organize, bargain

collectively, and participate through labor organizations. See 5 U.S.C. § 7104 and § 7105. The

Panel is an “entity within the Authority . . . to provide services and assistance to agencies and

[unions] in the resolution of negotiation impasses . . . .” 5 U.S.C. § 7119(c)(1). The Panel’s

processes, whereby it might impose contract terms if the parties in the federal sector fail to agree,

replace the traditional economic weapons of strike or lockout used by the private sector to resolve

disputes.

                After lengthy negotiations failed to reach accord, NATCA filed a formal Request for

Assistance on July 8, 2003, requesting that the Panel consider an impasse reached in collective

bargaining negotiations with the FAA (Case No. 03 FSIP 144). PASS filed similar formal Requests

of Assistance on various dates in July 2003 requesting Panel assistance due to impasses in bargaining

with the FAA (Case Nos. 03 FSIP 149, 150, 151 and 157). The FAA filed statements of position

with the Panel on September 22, 2003, asserting that the Air Traffic Management System

Performance Act of 1996 completely divested the Panel of any jurisdiction over the impasses. The



       1
       The facts are taken from Plaintiffs’ Statement of Material Facts as to Which There is
No Genuine Issue (“Pls.’ Facts”).

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FAA does not dispute the fact that there were impasses after good faith negotiations. In light of the

FAA’s argument concerning the Panel’s jurisdiction, the Panel solicited legal positions from all of

the parties on the issue and, on January 9, 2004, issued companion decisions. In the decisions, the

Panel declined to address the impasses “because it is unclear whether the Panel has the authority to

resolve the parties’ impasse[s].” Compl., Ex. A at 1, Ex. B at 1. It added that,

           This determination to decline to assert jurisdiction is made without
           prejudice to the right of either party to file another request for assistance if
           the underlying threshold question is resolved in the appropriate forum
           consistent with the Union’s interpretation of the applicable statutory
           provisions.

Compl. Ex. A at 4, Ex. B at 4.

               NATCO and PASS filed the instant action on January 30, 2004, seeking resolution

of this jurisdictional question. Specifically, they ask the Court to declare that the Panel’s decisions

of January 9, 2004, violate its statutory authority, exceed its jurisdiction under 5 U.S.C. § 7119, and

deprive NATCA, PASS and their respective represented employees of their statutory rights. The

unions ask the Court to order the Panel to resolve the existing impasses. In the meantime, the FAA

submitted its final bargaining proposals that were the subjects of impasses in its negotiations with

NATCA and stated that it “plans to put into effect these important changes . . . absent Congressional

action, sixty (60) days after submission, excluding any period during which Congress has adjourned

sine die[,] or on March 30, 2004.” Pls.’ Facts ¶ 11. At the time of the briefing, the FAA was

prepared to take the same action with respect to the PASS proposals on which impasses had

occurred. Id. ¶ 12.

                                 II. STATUTORY PROVISIONS

               The FLRA is the federal agency responsible for administering the CSRA. It


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adjudicates unfair labor practice complaints, negotiability disputes, bargaining unit and

representational election matters, and exceptions to arbitration awards. See 5 U.S.C. § 7105(a)(2).

The Panel is “an entity within the Authority, the function of which is to provide assistance in

resolving negotiation impasses between agencies and exclusive representatives.” 5 U.S.C. §

7119(c)(1).

               On November 15, 1995, Congress enacted Section 347 of the 1996 Department of

Transportation (“DOT”) Appropriations Act, Pub. L. No. 104-50, § 347, 109 Stat. 460 (1995),

directing the FAA to develop and implement a new personnel management system, to address “the

unique demands on the agency’s workforce.” Section 347(b) specifically stated that Chapter 71 of

the CSRA, which authorizes collective bargaining for federal employees and enforcement through

the FLRA and the Panel, would not apply to the new FAA personnel management system, except

for the prohibition of the right to strike in 5 U.S.C. § 7116(b)(7). See Pub. L. No. 104-50, § 347(b).

               On March 28, 1996, the FAA issued a new Personnel Management System (“PMS”),

organized in chapters addressing various aspects of the management of the agency’s human

resources. Chapter V dealt with Labor Relations and provided:

          EMPLOYEE RIGHTS

          The FAA, all FAA employees, and all labor organizations representing
          FAA employees shall have the same rights, and be subject to the same
          responsibilities and limitations, as are available to all Federal agencies,
          employees, and labor organizations under 5 U.S.C. Chapter 71.

Pls.’ Facts ¶ 15. This provision remains part of the FAA’s PMS. Id. On March 29, 1996, Congress

passed House Joint Resolution 170, Pub. L. 104-122, 110 Stat. 876 (1996), which amended Section

347 of the 1996 DOT Appropriations Act to require application of Chapter 71, relating to labor-



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management relations, to the PMS at FAA. Id. ¶ 17.

               Thereafter, on October 9, 1996, Congress enacted the Air Traffic Management

System Performance Improvement Act of 1996, Pub. L. 104-264, Title II, 110 Stat. 3227 (1996)

(“the 1996 FAA Act”) to establish a procedure for “developing and making changes to the personnel

management system initially implemented by the Administrator [of the FAA] . . . on April 1,

1996 . . . . ” 49 U.S.C. § 40122(a); Pls.’ Facts ¶ 18. The 1996 FAA Act required the FAA to

negotiate with the unions representing FAA employees over changes to the PMS and to engage in

mediation if the negotiations did not reach agreement. However, if negotiations end in an impasse,

the 1996 FAA Act “provided for the FAA Administrator to transmit its proposals, along with the

bargaining representative’s objections, to Congress. Proposed changes to the PMS were not to take

effect until sixty days after the Agency’s submission to Congress.” Id. at ¶ 19 (citing 49 U.S.C. §

40122(a)).

               In 2000, Congress codified the provisions of House Joint Resolution 170 by adding

subsection (g) to 49 U.S.C. § 40122 to specify that Chapter 71 of Title 5, “relating to labor-

management relations” would apply to the FAA PMS. Pub. L. No. 106-181, Title III, § 307(a), 114

Stat. 124 (2000). Id. at ¶ 21.

                                          III. ANALYSIS

               The relevant question here is who should determine the interplay between Chapter

71, the basic guide to federal labor-management relations, and the particular statutory provisions that

affect labor relations at the FAA, found at 49 U.S.C. § 40122 and 49 U.S.C. § 106? Because the

Authority is the expert agency charged with “provid[ing] leadership in establishing policies and

guidance relating to matters under . . . [Chapter 71],” 5 U.S.C. § 7105(a)(1), Defendants argue that


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the question should be presented to the Authority in the guise of an unfair labor practice proceeding.

Defendants suggest that the best way to present the issue is the filing of unfair labor practice charges

by the unions challenging the FAA’s actions as a failure to bargain in good faith. See Defendants’

Memorandum In Reply to Plaintiffs’ Opposition to Defendants’ Motion To Dismiss (“Defs.’ Reply”)

at 5-6. The FAA contends that, in light of the 1996 FAA Act, its obligation to bargain in this matter

does not extend to participation in the Panel’s impasse resolution procedures. Thus, Defendants

argue that if the FAA is indeed required to bargain under 5 U.S.C. § 7119, “a refusal to submit the

impasse to the Panel would constitute an unfair labor practice.” Id. Similarly, Defendants assert that

“the unfair labor practice forum could also be open to the unions were the FAA to implement its

proposals [unilaterally].” Id. at 6.

                The Court agrees that the unfair labor practice processes for the federal sector would

allow the unions to take these issues to the Authority and then to the Circuit Court of Appeals for

review, as necessary. In addition, the Authority correctly argues that the unions essentially raise an

“obligation to bargain” issue, i.e., a question of whether the exact issues that led to the impasses2

constitute “conditions of employment” within the meaning of 5 U.S.C. § 7102 and under the FAA.3

 See Defs.’ Reply at 3; see also Am. Fed. of Gov’t Employees v. FLRA, 778 F.2d 850, 854 (D.C. Cir.



       2
         The issues that led to the impasses were not described in the parties’ briefs, but they
were articulated by the parties as “primarily if not purely economic” at a telephone hearing held
on March 31, 2004.
       3
          5 U.S.C. § 7102(2) defines employee’s rights to include the right “to engage in
collective bargaining with respect to conditions of employment . . . .” 5 U.S.C. § 7103(a)(14)
defines “conditions of employment” to mean “personnel policies, practices, and
matters . . . affecting working conditions, except that such term does not include policies,
practices, and matters – (C) to the extent such matters are specifically provided for by Federal
statute.”

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1985)(negotiability issues are subject to determination by the Authority, not the Panel);

Interpretation and Guidance, 11 FLRA 626, 628-29 (1983)(Panel authority under § 7119(c)(5) does

not include the authority to resolve questions concerning the underlying obligation to bargain.). The

Panel’s impasse resolution procedures constitute simply one aspect of the collective bargaining

process and complaints about an agency’s participation – or lack thereof – in those procedures could

be deemed unfair labor practices. See Interpretation and Guidance, 11 FLRA at 628 n.5.

               When agency action constitutes an arguable unfair labor practice, jurisdiction rests

exclusively with the Authority and the Courts of Appeals. See 5 U.S.C. § 7123; Steadman v.

Governor, U.S. Soldiers’ and Airmen’s Home, 918 F.2d 963, 966 (D.C. Cir. 1990). For these

reasons, the Court concludes that it is without jurisdiction and should defer to the FLRA.

               The unions argue with some force and logic that the Panel failed to perform specific

mandatory statutory duties, and that such failure ultimately gives this court jurisdiction over the

matter. They rely on the Supreme Court’s decision in Leedom v. Kyne, 358 U.S.184 (1958), for the

proposition that “district courts have jurisdiction to remedy actions by federal agencies that are

contrary to express statutory authority and that have ‘deprived . . . employees of a right assured to

them by Congress.’” Memorandum of Points and Authorities in Support of Plaintiffs’ Motion for

Summary (“Pls.’ Mot.”) at 11 (citing Leedom, 358 U.S. at 189); see also Railway Labor Executives’

Association v. National Mediation Board, 29 F.3d 655, 661 (D.C. Cir. 1994)(“Federal courts have

jurisdiction to review action[s] taken in excess of delegated power”)(internal quotations and citation

omitted); United Food and Commercial Workers, Local 400 v. NLRB, 694 F.2d 276, 278 (D.C. Cir.

1982)(an otherwise nonreviewable agency action may be reviewable where the agency has

“contravened a clear and specific statutory mandate.”).


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                Thus, although the general rule is that the Panel’s orders are unreviewable, “in

exceptional circumstances, a district court may exercise federal jurisdiction to invalidate a Panel

order made ‘in excess of its delegated powers and contrary to a specific prohibition of the Act.’”

Council of Prison Locals v. Brewer, 735 F.2d 1497, 1500-1501 (D.C. Cir. 1984)(quoting Leedom,

358 U.S. at 188). However, this Circuit has held that the Leedom exception is very narrow and

“intended to be of extremely limited scope.” Griffith v. FLRA, 842 F.2d 487, 493 (D.C. Cir. 1988);

see also Brewer, 735 F.2d at 1500-1501 (“The invocation of Leedom jurisdiction is extraordinary;

to justify such jurisdiction, there must be a specific provision of the Act which, although it is clear

and mandatory, was nevertheless violated by the Panel.”)(internal quotations and citations omitted).

                The unions argue that the CSRA contains mandatory commands to the Panel that it

“shall promptly investigate any impasse,” “shall consider the impasse,” and “shall either – (i)

recommend . . . procedures for the resolution of the impasse; or (ii) assist the parties in resolving the

impasse . . . .” 5 U.S.C. § 7119(5)(A). In response, Defendants argue that the Panel fulfilled these

mandates, but the record clearly suggests otherwise. While the Panel may have initiated an

investigation of the respective impasses, the immediate and adamant position of the FAA that the

Panel had no authority to proceed caused a premature termination in the impasse resolution process.

                Despite the attractive invitation to decide these important issues, the Court concludes

that this is not an appropriate fact pattern for the invocation of district court jurisdiction pursuant to

Leedom v. Kyne. The Panel’s refusal to resolve the parties’ impasses in light of arguable legal

questions concerning the Panel’s authority cannot be deemed a violation of a “clear and mandatory”

statutory provision. See Leedom, 398 U.S. at 188. In considering an impasse, the Panel must always

determine in the first instance whether the impasse at issue is subject to its jurisdiction. The fact that


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the FAA and the unions here agree that there are impasses in fact in their negotiations does not

necessarily translate to impasses that are subject to the Chapter 71 procedures. The Panel did not

specify its reasoning when it declined to complete its own procedures. The Panel’s decision can

easily be read to mean that it declined to decide whether the impasses involved bargaining subjects

under Chapter 71 insofar as it is applicable to the FAA. It cannot be said that such a result

contravened an explicit or mandatory statutory obligation. Recognizing that the Authority might be

said to lack expertise to interpret the 1996 FAA Act, the Court still concludes that it is the better

forum to decide whether the FAA is required to follow the entire impasse-resolution process of

Chapter 71 for these particular impasses.

               Accordingly, Plaintiffs’ motion for summary judgment will be DENIED and

Defendants’ motion for summary judgment will be GRANTED.

               A memorializing Order accompanies this Memorandum Opinion.



Dated: February 22, 2005.                     _____/s/_____________________________
                                              ROSEMARY M. COLLYER
                                              United States District Judge




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